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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

    MARK MESSER, et al.,                              :        Case No. 1:22-cv-438
        Plaintiffs,                                   :
                                                      :        Judge Timothy S. Black
    vs.                                               :
                                                      :
    ALLSTATE VEHICLE AND PROPERTY                     :
    INS. CO.,                                         :
          Defendant.                                  :
                                           CALENDAR ORDER
        This civil action came before the Court for a Preliminary Pretrial Conference by
telephone on December 6, 2022 at 11:30 a.m. Attorneys Matthew Brown and Jason Walker
participated. The Court enters the following Calendar Order:

Status Conference (Telephone): 1                                 January 9, 2023 at 12:30 p.m.
Lay witness disclosures:                                         February 10, 2023
Plaintiffs’ and Defendant’s expert
designation(s) and report(s):                                    June 30, 2023
Rebuttal expert designations:                                    August 31, 2023
Discovery deadline:                                              September 15, 2023
Dispositive motion deadline: 2                                   November 10, 2023
Final Pretrial Conference: 3                                     March 11, 2024 at 11:00 a.m.
Jury Trial:                                                      March 18, 2024 at 9:00 a.m.

           IT IS SO ORDERED.

Date:         12/6/2022                                                       s/Timothy S. Black
                                                                            Timothy S. Black
                                                                            United States District Judge




1
 COUNSEL SHALL CALL: 1-888-684-8852; Access Code: 8411435; Security Code: 123456, and wait for the
Court to join the conference.
2
  See Standing Order Governing Civil Motions for Summary Judgment: https://www.ohsd.uscourts.gov/judge-
timothy-s-black-standing-orders
3
    To be held in Cincinnati Chambers, Room 815.
